
652 N.W.2d 536 (2002)
In re Petition for DISCIPLINARY ACTION AGAINST Dylan J. McFARLAND, an Attorney at Law of the State of Minnesota.
No. C5-02-553.
Supreme Court of Minnesota.
October 15, 2002.

ORDER
The Director of the Office of Lawyers Professional Responsibility has filed a petition for disciplinary action alleging that respondent Dylan J. McFarland has committed professional misconduct warranting public discipline, namely, that respondent misappropriated fees that properly belonged to his law firm in violation of Rule 8.4(c), Minnesota Rules of Professional Conduct (MRPC).
Respondent admits his conduct violated the MRPC, waives his rights pursuant to Rule 14, Rules on Lawyers Professional Responsibility (RLPR), and has entered into a stipulation with the Director in which they jointly recommend (1) that the appropriate discipline is an indefinite suspension from the practice of law under Rule 15(a)(2), RLPR, for a minimum period of 30 days; (2) that the reinstatement hearing provided for in Rule 18(a) through (d), RLPR, be waived; (3) that respondent be required to successfully complete the professional responsibility portion of the state bar examination within one year of the date of the court's order; (4) that respondent be required to comply with Rule 26, RLPR; (5) that respondent pay $900 in costs under Rule 24(a), RLPR; (6) that prior to applying for reinstatement respondent pay over to his former law firm the amount he received from the client to which respondent has no claim, $25,408.44, plus interest, separate and apart from any settlement in the law firm's action against respondent; and (7) that respondent may be reinstated at any time after 30 days upon the filing of an affidavit with the Clerk of Appellate Courts and the Director's Office establishing that respondent is current with Continuing Legal Education, has complied with Rules 24 and 26, RLPR, and has satisfactorily completed all other conditions imposed by the court.
This court has independently reviewed the file and approves the jointly recommended disposition.
Based upon all the files, records and proceedings herein,
IT IS HEREBY ORDERED that respondent Dylan J. McFarland is indefinitely suspended from the practice of law for a minimum period of 30 days, subject to the agreed-upon conditions set forth above. Respondent shall pay $900 in costs under Rule 24(a), RLPR.
BY THE COURT:
Paul H. Anderson Associate Justice
